Case 2:08-cr-00173-RHW   ECF No. 521   filed 02/09/10   PageID.2501 Page 1 of 6
Case 2:08-cr-00173-RHW   ECF No. 521   filed 02/09/10   PageID.2502 Page 2 of 6
Case 2:08-cr-00173-RHW   ECF No. 521   filed 02/09/10   PageID.2503 Page 3 of 6
Case 2:08-cr-00173-RHW   ECF No. 521   filed 02/09/10   PageID.2504 Page 4 of 6
Case 2:08-cr-00173-RHW   ECF No. 521   filed 02/09/10   PageID.2505 Page 5 of 6
Case 2:08-cr-00173-RHW   ECF No. 521   filed 02/09/10   PageID.2506 Page 6 of 6
